Case: 4:04-cr-00466-HEA   Doc. #: 496 Filed: 02/17/06   Page: 1 of 6 PageID #:
                                    1184
Case: 4:04-cr-00466-HEA   Doc. #: 496 Filed: 02/17/06   Page: 2 of 6 PageID #:
                                    1185
Case: 4:04-cr-00466-HEA   Doc. #: 496 Filed: 02/17/06   Page: 3 of 6 PageID #:
                                    1186
Case: 4:04-cr-00466-HEA   Doc. #: 496 Filed: 02/17/06   Page: 4 of 6 PageID #:
                                    1187
Case: 4:04-cr-00466-HEA   Doc. #: 496 Filed: 02/17/06   Page: 5 of 6 PageID #:
                                    1188
Case: 4:04-cr-00466-HEA   Doc. #: 496 Filed: 02/17/06   Page: 6 of 6 PageID #:
                                    1189
